            Case 1:22-sz-00011-GMH Document 2 Filed 04/15/22 Page 1 of 4




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 IN THE MATTER OF THE SEIZURE OF ALL
 PETROLEUM-PRODUCT CARGO ONBOARD
                                     CASE NO. 22-sz-11
 THE M/T PEGAS WITH INTERNATIONAL
 MARITIME ORGANIZATION NUMBER
                                     FILED UNDER SEAL
 9256860


                      MOTION AND SUPPORTING MEMORANDUM
                       TO SEAL APPLICATION AND AFFIDAVIT

       COMES NOW, the United States of America, by and through undersigned counsel, and

respectfully moves for an order to place and maintain under seal, until further order of this Court,

the application and the affidavit in support thereof for a seizure warrant for all Petroleum-Product

Cargo Onboard Motor Tanker (“M/T”) PEGAS with International Maritime Organization number

9256860 (the “Target Cargo”), as well as this Motion and Supporting Memorandum to Seal

Application and Affidavit, and any order granting this motion. In support whereof, the government

states as follows:

       1.      The United States is investigating possible violations of, inter alia, Material

Support of Terrorism, 18 U.S.C. § 2339B, and the International Emergency Economic Powers Act

(“IEEPA”), 50 U.S.C. § 1701 et seq., arising from an illicit scheme to violate U.S. sanctions against

Iran in support of Iran’s Islamic Revolutionary Guard Corps – Qods Force (“IRGC-QF”), which

the Department of the Treasury’s Office of Foreign Assets Control (“OFAC”) has designated

pursuant to counter-terrorism sanctions, and the involvement of Promsvyazbank Public Joint Stock

Company (“PSB”), which OFAC has designated in response to the Russian invasion of Ukraine.

Specifically, the investigation concerns the sale and delivery of crude oil from the National Iranian

Oil Company (“NIOC”), and transported aboard tankers owned or operated by the National Iranian

Tanker Company (“NITC”), PSB, and others, all for the benefit of the IRGC-QF. The Treasury
            Case 1:22-sz-00011-GMH Document 2 Filed 04/15/22 Page 2 of 4




Department has designated both NIOC and NITC pursuant to counter-terrorism sanctions for

financially supporting the IRGC-QF. PSB has aided and abetted in the violation of 18 U.S.C.

§ 2339B.

       2.       Evidence suggests that the targets of this investigation failed to seek or obtain the

requisite licenses from OFAC, which is located in Washington, D.C.

       3.      The Target Cargo is subject to forfeiture pursuant to 18 U.S.C. §§ 981(a) and 982,

as a foreign asset of the IRGC-QF, a designated foreign terrorist organization, which has engaged

in planning and perpetrating federal crimes of terrorism as defined in 18 U.S.C. § 2332b(g)(5)

against the United States, citizens or residents of the United States, or their property, and as an

assets, or sources of influence by a person or entity over the IRGC-QF.

       4.      The affidavit and application for a seizure warrant accompanying this motion result

from evidence gathered in the course of the investigation referred to in the preceding paragraphs.

The information set forth in the affidavit identifies the subject of the investigation. If the

investigation became public knowledge, it could alert targets who might destroy evidence to

frustrate prosecution or move other ill-gotten gains beyond the jurisdiction of the Court. The

Government fears that premature release of the information in the affidavit might compromise the

investigation’s success.

       5.      As stated in Washington Post v. Robinson, 935 F.2d 282, 288 (D.C. Cir. 1999),

there is a presumption of access to Court proceedings. But, this can be overridden if “‘(1) closure

serves a compelling interest; (2) there is a substantial probability that, in the absence of closure,

this compelling interest would be harmed; and (3) there are no alternatives to closure that would

adequately protect the compelling interest.’” Id. at 290 (quoting Oregonian Pub. Co. v. United

States Dist. Court, 920 F.2d 1462, 1466 (9th Cir. 1990)); see also United States v. Hubbard, 650



                                                 2
            Case 1:22-sz-00011-GMH Document 2 Filed 04/15/22 Page 3 of 4




F.2d 293 (D.C. Cir. 1981); In re Sealed Affidavits, 600 F.2d 1256 (9th Cir. 1979); Shea v. Gabriel,

520 F.2d 879 (1st Cir. 1975).

       6.      In this matter, the United States has a compelling interest in preserving the integrity

of the investigation and assuring the availability for forfeiture of funds that derive from criminal

activity. Thus, plaintiff submits that a limited sealing order keeping the affidavit from being

available in this Court’s public files is narrowly tailored to serve a compelling interest.

       7.      Further, the United States respectfully submits that complying with the normal

notice requirements of Washington Post would defeat the purpose of the motion to seal. The

rationale set forth above applies to this motion to seal. Persons who know the criminal justice

system also know that docketing a motion to seal a seizure warrant affidavit or a resulting sealing

order means that the Government intends to seize the property. Given the sensitivity of the

Government’s ongoing investigation and the potential that targets familiar with the subject

transaction and property might be alerted to destroy evidence and conceal other forfeitable

property, complying with the normal notice requirements of Washington Post would defeat the

purpose of the motion to seal. Consequently, this motion also asks the Court: (1) to delay entry

on the public docket of the filing of this Motion to Seal and Order of the Court; (2) to decide that

no hearing on this motion is needed; and (3) not to make this motion, nor any order granting it, a

part of the public record until further order of the Court.

       8.      Pursuant to Federal Rule of Criminal Procedure 49.1(b)(1) and 49.1(b)(7) and

Federal Rule of Civil Procedure 5.2(b)(1), the United States respectfully submits that there is no

requirement for any document filed in this case to be redacted. There is no opposing party whose

position on this motion can be ascertained and stated in this motion. A proposed order granting

this motion is attached for the Court’s convenience.



                                                  3
            Case 1:22-sz-00011-GMH Document 2 Filed 04/15/22 Page 4 of 4




       9.      The United States is requesting authority to disclose the existence of the warrant,

related pleadings, and underlying information with appropriate domestic or foreign authorities in

order to facilitate seizure and transfer of the properties in question. Additionally, because the

target property is an inanimate object that cannot ask for unsealing, the government is requesting

authority to automatically unseal the instant matter once sealing is no longer required, without

further order from this Court.

       WHEREFORE, the United States respectfully requests that this Court issue an Order

directing that the Clerk of the Court place and maintain under seal the application and affidavit in

support thereof for a seizure warrant for the Target Cargo, as well as this Motion and Supporting

Memorandum to Seal Affidavit and Proposed Order, and any order granting this motion, until

further order of this Court.



                                              Respectfully submitted,

                                              MATTHEW M. GRAVES
                                              UNITED STATES ATTORNEY
                                              D.C. Bar Number 481052


                                      By:     /s/ Karen P. W. Seifert
                                              Karen P. W. Seifert
                                              Assistant United States Attorney
                                              N.Y. Bar No. 4742342
                                              United States Attorney’s Office
                                              555 Fourth Street, N.W.
                                              Washington, D.C. 20530
                                              Telephone: 202-252-7527
                                              Email: karen.seifert@usdoj.gov




                                                 4
